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Jennifer Gruda

From:              Harley Breite <harleydbreite@aol.com>
Sent:              Thursday, April 1, 2021 9:12 AM
To:                KJ DCDecf
Cc:                Andrade, Mariela (USADC); Gopal, Gauri (USADC); Goemaat, Leslie (USADC); Gwendolyn Franklin;
                   Laura
Subject:           Re: FW: Activity in Case 1:21-cr-00120-KBJ USA v. FAIRLAMB Order on Motion for Order



CAUTION - EXTERNAL:
                                                                        Let this be filed as a "Letter in Response to the
                                                                        Court Informing Counsel Who Has Yet to Enter
                                                                        an Appearance of a Status Conference."
                THE LAW OFFICE OF HARLEY D. BREITE                      4/2/2021
                                                                        Ketanji Brown Jackson
                        562 Black Oak Ridge Road

                          Wayne, N.J. 07470



Phone‐ 973‐872‐0604                        Fax‐ 973‐305‐9112

Member - N.Y., N.J., PA & DC Bar            LL.M. (Master of Laws) in Trial Advocacy

April 1, 2021

Jennifer A. Gruda
Career Law Clerk to the Honorable Ketanji Brown Jackson
United States District Court for the District of Columbia


Dear Ms. Gruda,

    First and foremost, I hope this correspondence finds you and your family safe and sound during
this awful pandemic.
    Of course, I intend to continue to represent Mr. Fairlamb and am happy to appear at anytime the
Court wishes on April 8th.
    I believe it would be fair to say that I have an excellent working relationship with the Government
and we have communicated
back and forth often and easily. There have been some unusual delays which I believe are quite
specific to the nature of this case
but I have been working quite arduously and as expeditiously as possible.
   AUSA Goemaat informed me that the Judge may call upon my client to ascertain whether or not he
wishes to have me represent him.
In speaking with my client as recently as yesterday, as well as his family practically every day, I can
represent to you that Mr. Fairlamb is
adamant that he does not want any lawyer other than myself representing him in any fashion at
                                                        1
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anytime. There is certainly no issue should
Judge Jackson wish to confirm this herself.
   I have included on this email my Office Manager, Laura Ramirez, so that I may better facilitate any
and all communications and requests
from both the Court and the Government.
   I thank you very much for your time and consideration. Please feel free to contact me day or night
on my cell phone, 973-714-6733 for any
reason you may feel is necessary.

Respectfully submitted,
Harley D. Breite, Esq.

On 3/31/21 6:52 PM, KJ DCDecf wrote:
       Mr. Breite,

       Judge Jackson has set a status conference in this matter for next Thursday afternoon. If you intend to
       represent Mr. Fairlamb in this matter, she expects you to appear at that hearing (I will send VTC
       connection information in a subsequent email).

       Jennifer A. Gruda
       Career Law Clerk to the Honorable Ketanji Brown Jackson
       United States District Court for the District of Columbia
       202.354.3350

       From: DCD_ECFNotice@dcd.uscourts.gov <DCD_ECFNotice@dcd.uscourts.gov>
       Sent: Wednesday, March 31, 2021 6:44 PM
       To: ECFMail DCD <DCD_ECFNotice@dcd.uscourts.gov>
       Subject: Activity in Case 1:21‐cr‐00120‐KBJ USA v. FAIRLAMB Order on Motion for Order


       This is an automatic e‐mail message generated by the CM/ECF system. Please DO NOT RESPOND to
       this e‐mail because the mail box is unattended.
       ***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
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       first viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do
       not apply.

                                                   U.S. District Court

                                                  District of Columbia

       Notice of Electronic Filing

       The following transaction was entered on 3/31/2021 at 6:44 PM and filed on 3/31/2021
       Case Name:       USA v. FAIRLAMB
       Case Number:     1:21‐cr‐00120‐KBJ
       Filer:
       Document Number: No document attached

                                                            2
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      Docket Text:
      MINUTE ORDER granting [21] Motion for Order Scheduling a Status Conference
      as to SCOTT KEVIN FAIRLAMB (1). It is hereby ORDERED that a VTC Status
      Conference is set for 4/8/2021 at 02:30 PM before Judge Ketanji Brown Jackson.
      Signed by Judge Ketanji Brown Jackson on 3/31/2021. (jag)


      1:21‐cr‐00120‐KBJ‐1 Notice has been electronically mailed to:

      Leslie A. Goemaat leslie.goemaat@usdoj.gov, Mariela.Andrade@usdoj.gov,
      USADC.CriminalDocket@usdoj.gov, USADC.ECF.Fraud2@usdoj.gov

      1:21‐cr‐00120‐KBJ‐1 Notice will be delivered by other means to::




CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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